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 5
 6                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
 7                               SAN FRANCISCO DIVISION

 8
                                                        Case No. 3:24-cv-04647-MMC
 9
        AARON GREENSPAN,
10                                                      PLAINTIFF’S NOTICE OF
            Plaintiff,                                  MOTION AND MOTION TO LIFT
11                                                      DISCOVERY STAY
                    v.
12                                                      Time:         9:00 A.M.
13      ELON MUSK, TESLA, INC., X CORP., THE            Date:         August 15, 2025
        ELON MUSK REVOCABLE TRUST DATED                 Courtroom:    7
14      JULY 22, 2003, EXCESSION, LLC, JARED
        BIRCHALL, MORGAN STANLEY &                      Judge: Hon. Maxine M. Chesney
15      COMPANY, LLC, OMAR QAZI, SMICK                  State Action Filed: June 12, 2024
16      ENTERPRISES, INC., SINGER CASHMAN,              Removed: July 31, 2024
        LLP, ADAM S. CASHMAN, ALLISON                   FAC Filed: August 28, 2024
17      HUEBERT, ADAM G. MEHES, and ALEX
        SPIRO,
18
            Defendants.
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 1              NOTICE OF MOTION AND MOTION TO LIFT DISCOVERY STAY
 2          TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD, PLEASE TAKE
 3   NOTICE THAT, on August 15, 2025, at 9:00 A.M., or as soon thereafter as the matter may be
 4   heard in the United States District Court for the Northern District of California in the San
 5   Francisco Courthouse, Courtroom 7, 19th Floor, 450 Golden Gate Avenue, San Francisco, CA
 6   94102, or via Zoom, Plaintiff Aaron Greenspan will, and hereby does, move this Court, pursuant
 7   to Metabolife Intern., Inc. v. Wornick, 264 F. 3d 832 (9th Cir. 2001), to lift the stay of discovery
 8   imposed via the Court’s Order at ECF No. 131. This Motion is based on this Notice of Motion
 9   and Motion, the accompanying Memorandum of Law, the other documents on file in this action,
10   and upon such other and further evidence or argument that the Court may consider.
11
12    MEMORANDUM OF LAW IN SUPPORT OF MOTION TO LIFT DISCOVERY STAY

13
     I.     INTRODUCTION
14
15          Defendants are not entitled to a stay of discovery in this action. While the Court

16   analyzed Defendants’ collective motion at ECF No. 101 to stay discovery through the lens of a

17   motion to dismiss, Defendants did not merely file motions to dismiss—they also filed,

18   improperly, solely in an attempt to bankrupt Plaintiff, three anti-SLAPP motions. These anti-

19   SLAPP motions directly challenge facts alleged by Plaintiff in the First Amended Complaint

20   (“FAC”) at ECF No. 55. Pursuant to binding Ninth Circuit precedent, anti-SLAPP motions

21   challenging facts are treated as motions for summary judgment, and pursuant to Federal Rule of

22   Civil Procedure 56, discovery is required. This Court has no say in the matter unless Defendants

23   wish to withdraw their anti-SLAPP motions. The discovery stay must be lifted, and Plaintiff’s

24   prior motion to compel discovery at ECF No. 124 should be granted. Plaintiff intends to use

25   these documents to file an updated proposed Second Amended Complaint.

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 1   II.     STATEMENT OF RELIEF SOUGHT
 2           Plaintiff seeks an Order from this Court lifting the stay of discovery improperly imposed
 3   via ECF No. 131 and granting Plaintiff relief on his motion to compel at ECF No. 124.
 4
     III.    STATEMENT OF ISSUES
 5
             The issues presented by this motion are whether Defendants’ anti-SLAPP motions
 6
     challenge factual assertions in the FAC, whether the Ninth Circuit’s binding Metabolife
 7
     precedent thus converts those motions into motions for summary judgment for discovery
 8
     purposes, and whether this Court should wait for further Ninth Circuit precedent to issue
 9
     concerning the viability of state anti-SLAPP motions in federal court given rulings from several
10
     other circuits indicating that they cannot be considered.
11
     IV.     FACTUAL BACKGROUND
12
             Defendant Musk is the CEO of Defendant Tesla, and has been sued more often for
13
     securities fraud than any person in history. FAC ¶ 56. Defendant Musk considers short sellers,
14
     who bet on the price of a stock going down, his “evil” enemy and has publicly threatened them
15
     on multiple occasions, even going so far as to call for their imprisonment and “blood.” FAC ¶¶
16
     10, 26, 272. Plaintiff is an individual short seller who lost money when Tesla’s stock increased
17
     based on serial fraudulent statements by Defendants Musk and Tesla. FAC ¶ 53. Defendant
18
     Jared Birchall is Defendant Musk’s fixer and asset manager who previously worked for
19
     Defendant Morgan Stanley & Company, LLC. FAC ¶ 63. Discovery documents in a separate
20
     action regarding Twitter, Inc., which Defendant Musk purchased for $44 billion after unlawfully
21
     hiding his financial interest in the company and thus his interest in forcing the share price
22
     down—like a short seller—revealed that Defendant Birchall worked with Morgan Stanley on
23
     Musk’s behalf to keep Musk’s illegal trading activity “absofuckinglutely Quiet” (emphasis in
24
     original) and hidden from Morgan Stanley’s compliance department. FAC ¶ 271. Prior to
25
     assisting Defendant Musk with his unlawful endeavors regarding Twitter, Morgan Stanley was
26
     closely involved with the promotion, trading, and offering of Tesla stock, including on behalf of
27
     Musk. FAC ¶¶ 275-283.
28

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 1          The parties, except Omar Qazi and Smick Enterprises, Inc. (“Smick”), held a Rule 26(f)
 2   discovery conference on October 14, 2024. Initial disclosures were due 14 days later. Plaintiff
 3   served requests for production of documents on Defendant Musk on October 16, 2024. Plaintiff
 4   served requests for production of documents on Defendant Morgan Stanley on October 18, 2024.
 5   Plaintiff timely served his initial disclosures on Defendants. On October 26, 2024, all
 6   Defendants except Qazi and Smick filed a motion to stay discovery pending a ruling on the
 7   motions to dismiss. ECF No. 101. All Defendants failed to serve any initial disclosures as
 8   required by the October 28, 2024 deadline. On October 29, 2024, Plaintiff e-mailed Defendants
 9   requesting a Rule 37 conference to discuss their discovery dispute, but Defendants refused to
10   respond or engage. Defendants Musk and Morgan Stanley failed to respond to Plaintiff’s
11   discovery requests by the 30-day deadlines of November 15, 2024 and November 17, 2024,
12   respectively. Instead, on November 18, 2024, Defendant Musk responded (by postal mail, which
13   did not arrive until November 21, 2024) with only untimely objections, refusing to produce any
14   documents. On November 19, 2024, without yet having seen Defendant Musk’s untimely
15   objections, Plaintiff filed his opposition to Defendants’ motion to stay discovery. ECF No. 113.
16   On November 20, 2024, Defendant Morgan Stanley responded with only untimely objections,
17   also refusing to produce any documents (although Plaintiff only received these responses on
18   November 21, 2024 after inquiring, as they never actually arrived by mail). Again, on
19   November 21, 2024, Plaintiff e-mailed Defendants requesting a Rule 37 conference to discuss
20   their discovery dispute, but Defendants again refused to respond or engage. On December 2,
21   2024, this Court granted Defendants’ collective motion to stay discovery pending the outcome of
22   the motions to dismiss, but the Court failed to analyze the motion through the lens of anti-
23   SLAPP law or the Ninth Circuit’s Metabolife precedent.
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 1   V.      ARGUMENT
 2           A.      Defendants’ Anti-SLAPP Motions Directly Challenge Facts Alleged In The
 3                   First Amended Complaint, Making Discovery Mandatory Pursuant To
                     Metabolife
 4
             Defendants are not merely challenging Plaintiff’s claims as legally invalid. They also
 5
     directly challenge Plaintiff’s recitation of detailed facts based on documentary evidence in the
 6
     Tesla Files and from publicly available sources. This flaw in their motions is fatal, as the Ninth
 7
     Circuit has made clear that Defendants cannot have their cake and eat it too: if they effectively
 8
     want summary judgment at this early stage of the action, then Plaintiff is entitled to mandatory
 9
     discovery. Metabolife Intern., Inc. v. Wornick, 264 F. 3d 832 (9th Cir. 2001). Furthermore,
10
     discovery will show that Defendants engaged in consumer fraud and securities fraud, among
11
     other violations of law, for years, and that all of their “free speech” arguments are moot since
12
     anti-SLAPP protection cannot be granted in service of unlawful activity. “By necessary
13
     implication, the statute does not protect activity that, because it is illegal, is not in furtherance of
14
     constitutionally protected speech or petition rights.” Flatley v. Mauro, 139 P. 3d 2, 46
15
     Cal.Rptr.3d 606, 625 (Cal. 2006).
16
                     1.      Tesla Defendants’ Anti-SLAPP Motion (ECF No. 82)
17
             Defendant Musk and the Tesla Defendants (all except Morgan Stanley & Co., LLC, X
18
     Corp., Omar Qazi and Smick Enterprises, Inc.) challenge at least three facts that are key to
19
     Plaintiff’s claims: a) whether there was at any point in time an agency relationship with Omar
20
     Qazi and/or Smick Enterprises, Inc., which factors into Plaintiff’s state defamation, negligent
21
     infliction of emotional distress claims, and malicious prosecution (fraud on the court) claims; b)
22
     whether the Alameda County action against Plaintiff was filed with malice; and c) whether the
23
     Alameda County action against Plaintiff was filed without probable cause.
24
             Whether or not an agency relationship exists is a question of fact that depends on
25
     evidence of control, and that evidence extends beyond a single document that Defendants cite as
26
     purported proof that no relationship exists. In Defendants’ words, “This statement is a binding
27
     admission negating any agency relationship.” ECF No. 82 at 19:23-24. Plaintiff says otherwise:
28

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 1   “Since 2019, Defendants Musk, Tesla and X Corp. have treated Defendants Qazi and Smick in
 2   such a manner as to cause any reasonable observer to believe that Qazi and Smick are actual or
 3   ostensible agent of Defendants Musk and/or Tesla…” FAC ¶ 529 (citing 24 independent
 4   factors). There is a dispute of fact here and discovery is needed to resolve it. “This information
 5   is in the defendants’ exclusive control, and may be highly probative to Metabolife’s burden of
 6   showing falsity.” Metabolife Intern., Inc. v. Wornick, 264 F. 3d 832, 847 (9th Cir. 2001).
 7          Furthermore, concerning the malicious prosecution (fraud on the court) claim, a party’s
 8   motive, malice, and the reasonableness of their belief in probable cause are inherently factual
 9   issues that require discovery into their state of mind and the information they possessed. “As the
10   district court noted, 72 F.Supp.2d at 1166, the issue of ‘actual malice’ (or, to put it another way,
11   intent to convey the defamatory impression) cannot be properly disposed of by a motion to
12   dismiss in this case, where there has been no discovery.” Id. at 848. An additional factual
13   dispute arises concerning the cause of Defendant Musk’s sudden voluntary dismissal of the
14   Alameda Case (see FAC ¶ 26) hours before Plaintiff was about to file a detailed motion for
15   sanctions on the docket, which Defendant Musk had already been served with weeks prior.
16   Defendant Musk now claims his dismissal had nothing to do with the sanctions motion. “The
17   Hothi Action was dismissed pursuant to a $10,000.01 settlement.” ECF No. 82 at 22:25. But is
18   that true, or did Musk strategically settle with Randeep Hothi to avoid being sanctioned?
19                  2.      X Corp.’s Anti-SLAPP Motion (ECF No. 75)
20
            Plaintiff alleges that X Corp.’s stated reason for terminating his accounts is a pretext, and
21
     that the real reasons are retaliatory. FAC ¶ 539. X Corp. disagrees. It claims that Plaintiff’s
22
     accounts were terminated due to routine “content moderation” decisions. ECF No. 75 at 10:13-
23
     14. Both cannot be true.
24
            X Corp. also asserts that its “Creator Ads Revenue Sharing Program” is just like
25
     Google’s YouTube revenue sharing program for content creators. Id. at 10 n. 6. But is it?
26
     Plaintiff alleges that X Corp. specifically designed its program “for a limited number of Tesla
27
     and right-wing propagandists like [Omar Qazi].” FAC ¶ 28. Again, there is a factual dispute.
28

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 1          Since there are factual disputes at issue, and X Corp.’s anti-SLAPP motion must be
 2   treated as a motion for summary judgment on which discovery is required.
 3                  3.      Morgan Stanley’s Anti-SLAPP Motion (ECF No. 77)
 4
            Plaintiff alleges that Morgan Stanley’s “Private Wealth Management” research was not
 5
     initially issued in a public forum, but rather, to only some of its high-paying clients. FAC ¶¶
 6
     478-49, 485 (noting Morgan Stanley’s “right to sell gibberish to its clients”). Morgan Stanley
 7
     alleges that restricted conference calls and research notes inaccessible by the general public are
 8
     themselves a “public forum.” ECF No. 77 at 5:22-24. Here again, there is a factual dispute.
 9
            Morgan Stanley also claims that “in context, [Morgan Stanley “analyst” Adam] Jonas
10
     conveyed that the investing public—not himself or Morgan Stanley—viewed Tesla as a
11
     ‘distressed credit story and restructuring story.’” Id. at 17:5-6. Plaintiff disputes this absurd
12
     interpretation of what happened on a private call for Private Wealth Management clients,
13
     alleging that he held “private client calls” where “his views were intended to stay private.” FAC
14
     ¶ 478. Did he? Were they? Those are factual questions that must be resolved via discovery.
15
            There is yet another factual dispute in that Plaintiff alleges that Morgan Stanley acted
16
     with scienter, and Morgan Stanley denies this—or at least that it acted “with a ‘high level of
17
     scienter.’” ECF No. 77 at 18:17. “Plaintiff appears to allege that Morgan Stanley acted with
18
     scienter because it wanted to ‘earn fee revenue’ from underwriting Tesla’s offerings and keep
19
     Musk’s business.” Id. at 18:18-19. Exactly what constitutes a “high level” of scienter turns on
20
     facts. “This inquiry is normally an ‘intensely factual question’” (citations omitted). Zucco
21
     Partners, LLC v. Digimarc Corp., 552 F. 3d 981, 990 (9th Cir. 2009). To address these factual
22
     disputes, discovery is required.
23
            B.      The Ninth Circuit Is Re-Considering Whether State Anti-SLAPP Motions
24                  Can Be Heard In Federal Court
25          In Gopher Media LLC, et al. v. Melone, et al., Case No. 24-2626 (9th Cir. 2025) the
26   Ninth Circuit granted hearing en banc to re-evaluate whether state anti-SLAPP motions belong in
27   federal court in the first place. The answer, according to many sister circuit courts, is no. “We
28

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 1   hold (for the first time) that California’s anti-SLAPP statute is inapplicable in federal court
 2   because it conflicts with Federal Rules of Civil Procedure 12 and 56.” La Liberte v. Reid, 966 F.
 3   3d 79 (2nd Cir. 2020). See also Klocke v. Watson, 936 F.3d 240, 242 (5th Cir. 2019); Carbone v.
 4   Cable News Network, Inc., 910 F.3d 1345, 1350 (11th Cir. 2018); Abbas v. Foreign Policy Grp.,
 5   LLC, 783 F.3d 1328, 1335 (D.C. Cir. 2015); Banks v. Hoffman, Case No. 20-CV-318, 301 A.3d
 6   685, 707 n.33 (D.C. Sept. 7, 2023) (all invalidating aspects of state anti-SLAPP statutes in
 7   federal court or state courts using federal rules due to conflicts with Federal Rule of Civil
 8   Procedure 56). Oral argument was held before the Ninth Circuit in Gopher Media on June 24,
 9   2025. See https://www.youtube.com/watch?v=RwcXG6QL27I. Thus, ruling on Defendants’
10   state anti-SLAPP motions before a decision is issued would be premature and could lead to
11   needless complexity. In the meantime, discovery is required under current Ninth Circuit
12   precedent.
13   VI.    CONCLUSION
14
            Factual disputes abound in the Defendants’ anti-SLAPP motions. Pursuant to the Ninth
15
     Circuit’s binding precedent in Metabolife, discovery is required prior to the Court ruling on
16
     Defendants’ anti-SLAPP motions, and the stay must be lifted. Accordingly, Plaintiff respectfully
17
     requests that his motion be granted, that the discovery stay be lifted, and that Plaintiff’s prior
18
     motion to compel at ECF No. 124 be granted.
19
20
     Dated: July 10, 2025                   Respectfully submitted,
21
22
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